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 Name and address:
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  Tel. 213-688-2001
  Email. jeong@jeonglikens.com


                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
NEMAN BROTHERS & ASSOC.,INC.                                    CASE NUMBER:

                                                                                 2:20-cv-11181-CAS-JPR
                                                 PLAINTIFF(S)
                                    v.

INTERFOCUS, INC.
                                                                       NOTICE OF CHANGE OF ATTORNEY
                                                                      BUSINESS OR CONTACT INFORMATION
                                               DEFENDANT(S)

                                                    INSTRUCTIONS
Attorneys with pending cases:
If you are counsel of record in a case currently pending in this district and you need to update your business or contact
information, you must file and serve this form in each of your pending cases. Doing so will satisfy your notice obligation
under Local Rule 83-2.4. In addition, if you are registered to use the Court's electronic filing system, you must log in to
your PACER account and update your information online. See Local Rule 5-4.8.1. For instructions, visit
www.cacd.uscourts.gov/e-filing/updating-your-contact-information.
Attorneys with no pending cases:
If you are registered to use the Court's electronic filing system, but have no cases currently pending in this district, and
you need to update your business or contact information in the Court's records, you must log in to your PACER account
and update your information online (see www.cacd.uscourts.gov/e-filing/updating-your-contact-information). Doing so
satisfies your obligations under Local Rules 5-4.8.1 and 83-2.4; you do not need to submit this or any other form.
If you are not registered to use the Court's electronic filing system, have no cases currently pending in this district, and
need to update your business or contact information in the Court's records, please complete this form (you may leave the
caption and case number blank) and email it to "email_update@cacd.uscourts.gov" with the subject line "Attention:
Attorney Admission Clerk." Doing so satisfies your notice obligation under Local Rule 83-2.4.
Please note:
Use this form only to make changes to an attorney's business or contact information, not to change a party's
representation. If you need to add, remove, or substitute counsel in a particular case, use Form G-01 ("Request for
Approval of Substitution or Withdrawal of Counsel") or Form G-123 ("Notice of Appearance or Withdrawal of Counsel").
SECTION I - IDENTIFYING INFORMATION

Name: Chan Yong Jeong
Current email address of record: jeong@jeonglikens.com (This was deleted. This form is submitted to reinstate.)
Check one:     ✔ Member of the Central District Bar; CA Bar No: 255244                         Admitted pro hac vice
Counsel of record for (if filing in a pending case): Neman Brothers & Assoc., Inc.


If you are an Assistant United States Attorney or Deputy Federal Public Defender in this district, indicate your agency and
office:
                         FPDO                    USAO (specify):     Civil Division   Criminal Division

                             Los Angeles            Santa Ana                  Riverside

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SECTION II - UPDATED INFORMATION
     I need to update the email address associated with my records. My new primary email address is:
 ✔
       jeong@jeonglikens.com
      Note: if you need to update the secondary email address(es) associated with your account, you must log in and makes those changes
      yourself.
     I need to update other business or contact information. Please replace my current contact information with the following
 ✔
     new information:
      Attorney's name changed to:
      Name of new firm or government agency:
      New address: 1100 Wilshire Blvd., Suite 3008, Los Angeles, CA 90017
      New telephone number:                                              New fax number:
      New email address (for non-e-filers):

SECTION III - APPLICATION TO CLOSED CASES
If you are registered to use the Court's e-filing system, you will have the opportunity to change your contact information
in cases that are no longer pending when you update your information in PACER. If you are not registered, using this
form to update your information will affect pending and future cases only, unless you check one of the boxes below:
           Update my information in all cases (including closed cases) in which I am listed as counsel of record.
           Update my information in only the following cases (include case name and number; attach additional pages if necessary):




SECTION IV - REGISTERING TO USE THE COURT'S E-FILING SYSTEM
If you have not yet registered to use the Court's e-filing system, you may do so at www.pacer.gov. Click "Manage My
Account" in the upper right corner of the screen, log in using your individual upgraded PACER account, and select the
"Maintenance" tab. Select "Attorney Admissions/E-File Registration," choose "U.S. District Courts" and the Central
District of California from the dropdown menus, click on the "E-File Registration Only" button, and follow the
instructions. Your request will be submitted to the Central District. If approved, you will be notified that your e-filing
privileges have been activated.

SECTION V - SIGNATURE
Pursuant to Rule 83-2.4 of the Local Rules for the Central District of California, I hereby notify the Clerk of Court and all
parties to this action, if any action is named above, that my business or contact information has changed as indicated
herein.

      Date: 10/13/2022                                    Signature: /s/ Chan Yong Jeong




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